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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

                                                     )
                                                     )
 GABRIEL GARAVANIAN, et al.,                         )
                                                     )
        Plaintiffs,                                  )
                                                     )
 v.                                                  )
                                                       Civil Action No. 1:23-cv-10678-WGY
                                                     )
 JETBLUE AIRWAYS CORPORATION and                     )
 SPIRIT AIRLINES, INC.,                              )
                                                     )
        Defendants,                                  )
                                                     )
                                                     )
                                                     )


                 DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT

       Pursuant to Federal Rule of Civil Procedure 56 and Local Rule 56.1, and in accordance

with the Scheduling and Case Management Order in this case (Dkt. 96), Defendants JetBlue

Airways Corporation and Spirit Airlines, Inc., by their attorneys, move for summary judgment

with respect to Plaintiffs’ only claim for Defendants’ alleged violation of Section 7 of the Clayton

Act.

       Summary judgment is warranted on two grounds: First, Plaintiffs do not have standing

under Article III to bring this claim because none of them has suffered an injury-in-fact that is

concrete, particularized, and actual or imminent. Second, the proposed merger has not caused and

will not cause Plaintiffs irreparable injury, and any alleged injury could be remedied by monetary

damages. As explained in the accompanying memorandum of law, Statement of Undisputed

Material Facts, Declaration of Elizabeth M. Wright, and all exhibits attached thereto, the Court

should grant summary judgment to Defendants as to all 25 Plaintiffs.


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                             REQUEST FOR ORAL ARGUMENT

       Pursuant to Local Rule 7.1(d), Defendants respectfully submit that oral argument may

assist the Court in determining whether to grant summary judgment and accordingly request the

opportunity to present the Court with oral argument regarding this motion.


Dated: August 1, 2023                               /s/ Elizabeth M. Wright
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                         L.R. 7.1(a)(2) CERTIFICATE OF CONFERENCE

            I, Elizabeth M. Wright, hereby certify that pursuant to Local Rule 7.1, counsel for

Defendants conferred in good faith with counsel for Plaintiffs before filing this Motion in an

attempt to resolve or narrow the issues but were unsuccessful in reaching a resolution to avoid this

Motion.

                                                       /s/ Elizabeth M. Wright


                                   CERTIFICATE OF SERVICE

            I hereby certify that this document was filed through the ECF system on August 1, 2023,

and will be sent electronically to the registered participants as identified on the Notice of Electronic

Filing.

                                                       /s/ Elizabeth M. Wright



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